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                              UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


 IN RE: ROUNDUP PRODUCTS                            MDL No. 2741
 LIABILITY LITIGATION
                                                    Case No. 16-md-02741-VC
                                                    PRETRIAL ORDER NO. 214:
                                                    DENYING MOTIONS TO ALTER
 This document relates to:
                                                    SCHEDULE ON MOTION FOR
 Ramirez, et al. v. Monsanto Co., Case No.          PRELIMINARY APPROVAL
 3:19- cv-02224



       In addition to resolving tens of thousands of pending Roundup cases, Monsanto has

reached a settlement in a newly-filed class action. This new lawsuit, and the accompanying

settlement, is designed to resolve all future claims—either by Roundup users who have

developed cancer but have not yet sued, or by Roundup users who have not yet developed cancer

at all. In contrast to Monsanto’s settlement of the pending cases against it, settlement of this new

“futures” class action requires court approval.

       The Court has set a hearing for July 24, 2020 on whether to grant preliminary approval of

the settlement. The deadline for potential class members to oppose the motion for preliminary

approval, or to file objections to any aspect of the settlement, is July 13. Since setting these

dates, the Court has received many requests to push them back. These requests come from

potential class members who oppose the settlement. The opponents contend that because the

settlement it is complex, novel, and problematic in many respects, they need more time to

analyze it and file comprehensive opposition briefs. For similar reasons, they contend the Court

should take more time to consider the settlement before holding a hearing on preliminary

approval. As they correctly note, careful scrutiny must be given to class action settlements at the
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preliminary approval stage. To the extent the plaintiffs and Monsanto suggest that it would be no

big deal to wait until the final approval stage before fully considering objections to this

settlement agreement, they are wrong. As explained in Cotter v. Lyft:

               [T]he idea that district courts should conduct a more lax inquiry at
               the preliminary approval stage seems wrong. Certainly nothing in
               the text of Rule 23 suggests courts should be more forgiving of flaws
               in a settlement agreement at the preliminary stage than at the final
               stage, or that courts should merely give settlement agreements a
               “quick look” at the outset. And lax review makes little practical
               sense, from anyone's standpoint. If the district court, by taking a
               quick look rather than a careful one, misses a serious flaw in the
               settlement, the parties and the court will waste a great deal of money
               and time notifying class members of the agreement, only to see it
               rejected in the end, requiring the parties to start over. The same is
               true if the district court does identify a potentially serious flaw at the
               preliminary stage but waits until final approval to conclude that it's
               fatal. What's worse, if a court waits until the final approval stage to
               thoroughly assess the fairness of the agreement, momentum could
               have a way of slanting the inquiry, in a manner that deprives the
               class members of the court protection that Rule 23 demands.

               This approach may also inadvertently disadvantage class members.
               Class members will receive a notice saying that the settlement has
               received preliminary approval from a federal judge. A layperson
               may take the court's preliminary approval to imply that she shouldn't
               really worry about whether the settlement is in her best interest,
               because surely the court, which is more familiar with the law and
               the facts of the case, has already taken care of that. But that is a
               misimpression if the judge has merely glanced at the settlement or
               decided to hold off adjudicating a potential problem until final
               approval.

               This is not to suggest that rigorous inquiry at the initial stage should
               convert final review to a mere formality. Sometimes objectors may
               bring a flaw to the court's attention at the final stage—one the court
               didn't catch at the initial stage. Other times, further factual
               development between the initial and final stages may cause the court
               to conclude that the agreement is unfair after all. But by scrutinizing
               the agreement carefully at the initial stage and identifying any flaws
               that can be identified, the court allows the parties to decide how to
               respond to those flaws (whether by fixing them or opting not to
               settle) before they waste a great deal of time and money in the notice
               and opt-out process.
193 F. Supp. 3d 1030, 1036-37 (N.D. Cal. 2016).

       The points made in Cotter seem especially applicable to complex, expensive-to-

administer settlements like the one proposed here. The Court thus appreciates the widespread



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interest in the settlement agreement, and agrees that it should not grant preliminary approval

before fully considering the views of any potential class members who oppose it. However, even

before receiving opposition briefs, the Court is skeptical of the propriety and fairness of the

proposed settlement, and is tentatively inclined to deny the motion. The following are just some

of the Court’s concerns:

   •   Even with the consent of both sides, it’s questionable whether it would be constitutional
       (or otherwise lawful) to delegate the function of deciding the general causation question
       (that is, whether and at what dose Roundup is capable of causing cancer) from judges and
       juries to a panel of scientists.

   •   Even if it were lawful to delegate this function to the panel, it’s unclear how the
       delegation proposed here would benefit a class of Roundup users who either have cancer
       but have not yet sued Monsanto or have not yet developed cancer. Thus far, judges have
       been allowing these cases to go to juries, and juries have been reaching verdicts in favor
       of the plaintiffs, awarding significant compensatory and punitive damages. Why would a
       potential class member want to replace a jury trial and the right to seek punitive damages
       with the process contemplated by the settlement agreement?

   •   In an area where the science may be evolving, how could it be appropriate to lock in a
       decision from a panel of scientists for all future cases? For examine, imagine the panel
       decides in 2023 that Roundup is not capable of causing cancer. Then imagine that a new,
       reliable study is published in 2028 which strongly undermines the panel’s conclusion. If a
       Roundup user is diagnosed with NHL in 2030, is it appropriate to tell them that they’re
       bound by the 2023 decision of the panel because they did not opt out of a settlement in
       2020?

   •   Given the diffuse, contingent, and indeterminate nature of the proposed class, it seems
       unlikely that most class members would have an opportunity to consider in a meaningful
       way (if at all) whether it is in their best interest to join the class. There’s nothing wrong
       with certifying a class of people who are candidates to suffer harm in the future when the
       class is narrow and readily identifiable—for example, NFL players who have not yet
       developed CTE. In a case like that, it’s relatively easy to ensure that the class members
       are notified and given meaningful chance to consider their options before deciding
       whether to opt out of the settlement. A class that includes all Roundup users who will get
       cancer in the future is very different. For example, the idea that a migrant farmworker or
       someone who is employed part time by a small gardening business would receive proper
       notification (much less the opportunity to consider their options in a meaningful way) is
       dubious.




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        Given the Court’s current skepticism, it could be contrary to everyone’s interest to delay

the hearing on preliminary approval. If the motion for preliminary approval is denied, the parties

will presumably move to Plan B for devising a system to address future claims. (Although the

Court is not aware of any Plan B, it would be surprising if none existed given the stakes involved

and the novelty of Plan A.) And if the parties are going to need to move to Plan B, they would

presumably prefer to do that sooner rather than later. Moreover, if the motion would already be

denied on the current record, it would be a waste of time and money to wait for hundreds of

pages of briefing from dozens of lawyers and law professors from around the country, no matter

how interesting those briefs would be.

        Accordingly, the following procedure will apply to the motion for preliminary approval.

The hearing will take place, as scheduled, on July 24. With respect to the filing deadline on July

13, the Court will only consider filings from potential class members titled “preliminary

opposition” or “preliminary objections.” Any such filing must be in the form of a letter brief, not

to exceed two pages, single-spaced. (Counsel can be listed on a third page to avoid taking up

space on the first two pages.) Anything longer will not be considered and will be stricken from

the docket. If the Court’s views begin to evolve after the hearing on preliminary approval, it will

issue an order inviting full briefing. Filing a letter brief will not be a prerequisite to filing a

longer brief if one is invited after the hearing, nor will the longer brief be limited to the issues

raised in the letter brief. The plaintiffs may file a reply to the letter briefs by the previously

specified deadline.

        The Court will not consider amicus briefs at this time. If the Court orders full briefing

from potential class members, it will permit amicus filings then.



        IT IS SO ORDERED.

Dated: July 6, 2020
                                                 ______________________________________
                                                 VINCE CHHABRIA
                                                 United States District Judge



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